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                   UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NEW YORK

       CONSUMER FINANCIAL
       PROTECTION BUREAU, et al.,

                          Plaintiff,

       v.                                             Case No. 24-CV-40-LJV

       STRATFS, LLC (f/k/a STRATEGIC
       FINANCIAL SOLUTIONS, LLC), et
       al.

                          Defendants, and

       DANIEL BLUMKIN, et al.,

                          Relief Defendants.



       MOTION TO DISSOLVE TEMPORARY RESTRAINING ORDER

      Defendants (hereinafter collectively “Moving Defendants”), respectfully move

this Court, pursuant to Federal Rule of Civil Procedure 65(b)(4), to dissolve the

temporary restraining order entered on January 11, 2024. In support thereof, Moving

Defendants state as follows:

                                INTRODUCTION
      The American legal system is adversarial. And for good reason: left to their

own devices, litigants (including the government) may present arguments that are so

one-sided as to be misleading. That has happened here. Last week, Plaintiffs

approached this Court ex parte and submitted a complaint and moving papers that

distorted many material facts and omitted many other material facts. The truth is


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very different from what this Court was told last week.        This Court entered a

sweeping TRO order, including the takeover of numerous companies, freezing of

personal bank accounts (including an account belonging to a defendant’s teenaged

son), based on representations by the government that will be proved untrue at an

adversarial setting.

      Indeed, the very foundation of this lawsuit is flawed. Plaintiffs’ case rests on

the assertion that defendants accepted fees from customers before settling debts and

without regard to the amount of debt settled. Plaintiffs assert that the TSR forbids

a telemarketing act or practice that accepts fees in this manner. That is a half-truth.

The TSR has an exemption directly applicable in this case: The Rule exempts

“Telephone calls in which the sale of goods or services…is not completed, and

payment or authorization of payment is not required, until after a face-to-face

sales…presentation by the seller...” 16 C.F.R. 310.6(b). As plaintiffs’ well-know, that

exemption applies here.

      No sale is made during the telephone call. See Declaration of Richard K.

Gustafson II, dated January 16, 2024 (“Gustafson Aff.”), at ¶¶ 5-7. Each sale is

preceded by a lengthy presentation by an agent of the law firm to settle the customer’s

debt. Id., at ¶¶ 7, 16. That presentation includes a PowerPoint that describes the

process of debt settlement, the fees involved, and the expected extended time frame.

Id., at ¶ 16(c)-(d). This face-to-face presentation typically takes between 45 minutes

to an hour. Id., at ¶ 16(f). The presenter and the customer sign an affidavit – the

presenter as affiant and the customer as witness – that sets forth the start and finish



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time of the presentation. Id. No sale was made until the presentation has concluded.

Id., at ¶¶ 6-7; 16.

       Plaintiffs were fully aware of this fatal flaw in their claim when they filed their

ex parte application. Pursuant to investigative subpoenas, the CFPB was provided

with copies of these presentations and affidavits from presenters. That is why the

allegations in the Complaint regarding this critical fact are either vague or

misleading. ¶ 69 (referring to notaries’ alleged knowledge, not their interaction with

the customer); ¶¶ 79, 83-84 (referring to contract and not presentation); ¶ 80

(describing COVID-19 restrictions). In fact, as noted above, the presenters had a

uniform, extensive, substantive and detailed presentations with potential customers

before they contracted for debt relief. Gustafson Aff., at ¶¶ 5-7, 16. Plaintiffs’ case

collapses when these critical facts are corrected.

       The balance of the equities requires dissolution of the TRO. Unless this Court

acts now, Defendants may never have a chance to present their side of the story. The

Strategic companies (collectively “Strategic”) employ nearly 1000 people, support over

20 law firms, and provide critical assistance to over 75,000 consumers. See

Declaration of Mary Lynn Clark, dated January 16, 2024 (“Clark Aff.”), at ¶ 4. It is a

substantial enterprise. But it may not still exist when the TRO expires. Last week,

this Court appointed a Receiver to manage Strategic’s affairs. Presumably, the Court

did this with the expectation that the Receiver would preserve the status quo and

proceed carefully with a due regard for the interests of Strategic, Strategic’s




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employees, the law firms that utilize Strategic’s administrative support functions,

and the 75,000 consumers who need Strategic to provide critical services.

      But the Receiver has not done that. Instead, he is doing the opposite. On day

one, the Receiver completely shut down Strategic. He has shut down bank accounts,

frozen employees out of Strategic’s IT systems, cut off all access to email, refused to

provide service to Strategic’s law firm clients. In general, the Receiver has taken

every step possible to ensure that Strategic cannot function. In short, the Receiver is

not managing Strategic, he is killing it. Unless this Court acts quickly, he will

succeed. And that will happen before Strategic (or any of the other interested parties)

have any opportunity to defend themselves in this Court.

      But that is not all. The Receiver appears to be actively trying to undercut the

Defendants’ ability to defend themselves in this lawsuit. He has refused to give

Defendants access to data and information they need to mount their defense, which

is wholly unrelated to the Receiver’s duty to preserve Strategic’s assets. Moreover,

the Receiver (based on a 2016 engagement agreement he found in Strategic’s legal

files) has suggested that Defendants’ counsel has a conflict. The Receiver is tasked

with managing a $1 billion company and protecting the interests of employees,

consumers and other interested parties. Instead of doing that, he is spending his

time pouring through legal files in an effort to disqualify counsel.

      This Court should dissolve the existing TRO and dismiss the Receiver.

Strategic (and the other Defendants) are entitled to their day in court. They cannot

have the legal process circumscribed by a Receiver who acts as judge, jury and



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executioner. Injunctive relief is not the death penalty and Receivers are not

executioners. The “primary purpose” of appointing a Receiver is to “conserve the

existing estate,” and asset-freeze injunctions are similarly intended to “facilitate

monetary recovery by preserving the status quo pending litigation of statutory

violations.” Esbitt v. Dutch-Am. Mercantile Corp., 335 F.2d 141, 143 (2d Cir. 1964). ;

Fed. Trade Commision v. Campbell Cap. LLC, 2018 WL 5781458, at *4 (W.D.N.Y.

Oct. 24, 2018). Strategic has existed for many years. It is a substantial enterprise

that employs approximately 1000 people. See Clark Aff., at ¶ 4. Strategic’s principals

are well-established in their communities. They are not flight risks and there is no

evidence to suggest they will abscond with money or destroy documents is allowed to

continue to manage their company.

       The TRO is also harming numerous third parties. Strategic is a vendor to over

20 different law firms. See Clark Aff., at ¶ 4. Those law firms have 65,000 current

clients who are depending on those firms to negotiate credit card settlements and

defend them in court proceedings. Each of those law firms has contracted with

Strategic to provide administrative, logistical and customer support services. Id. at

¶¶ 8-9. In short, all of the services typically provided to law firms by legal secretaries,

claims representatives, accounting personnel and the like have been outsourced to

Strategic. Id. The Receiver is now refusing to provide those services. That puts

Strategic in potential breach of its contracts with those law firms. More importantly

(at least for present purposes), it leaves those law firms unable to effectively

represent their clients. In a typical month, Strategic employees have 30,000-40,000



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communications with law firm clients. Id. at ¶ 13. That includes emails, phone calls

and mail (which is scanned through Strategic). Id. All of that has now stopped. Those

clients cannot secure relief and the law firms, Strategic (and, by extension, the

Receiver, who posted a paltry $50,000 bond for a billion dollar company) face

mounting liability.

      In addition, Strategic operates businesses that have nothing to do with

advance fee debt settlement. For example, Strategic owns and operates two firms

(Timberline and Atlas) that are contingent fee firms. Id. at ¶ 5. In other words,

Timberline and Atlas function precisely the way Plaintiffs say they should. But the

Receiver has shut them down as well. Those firms have 10,000 clients who now lack

representation and who are in the middle of obtaining debt settlement relief. Id.

There is no justification for shutting those firms down. And yet the Receiver did so

on Day One of his administration – apparently without any thought or analysis

whatsoever.

      Further, the actual owners of Strategic are its employees, who beneficially own

approximately 100% of the outstanding shares as participants in the Strategic ESOP,

a retirement plan governed by ERISA. To date, Defendants are unaware that either

the ESOP trustee, the ESOP plan participants, or the Board of Directors, as ESOP

Plan sponsor, have been given an opportunity to understand, assess or provide input

regarding the likely material adverse impact of the Receiver’s proposed actions, and

the resulting material modification of the company’s business on their ERISA plan

assets.



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      Finally, the TRO creates tremendous disruption for many persons that should

not be parties in this case. The TRO stretches the bounds of “relief parties” beyond

the breaking point. One example makes the point. Jaclyn Blust is the wife of Jason

Blust. Under the Court’s TRO, her accounts were frozen and she is barred from even

using her credit card. In addition, the accounts of her minor children were frozen as

well. The sole basis for this relief? The Plaintiffs allege that she took $8.3 million out

of the Blust family trust. But as the government almost certainly knows, that was a

withdrawal to cover tax liability (and was paid to the taxing authorities). The

Plaintiffs’ failure to mention that point in its Complaint is purposefully deceiving.

                             FACTUAL BACKGROUND
                                      The Parties

      For the past decade, a group of attorneys based largely (but not exclusively)

out of Chicago have been involved in forming and operating law firms to assist people

who are saddled with credit card debt. That is a historically underserved population

for the simple reason that people with large debts typically cannot afford a

“traditional” law firm. To provide legal services to those people, the attorneys have

created a law firm structure that relies on outside vendors to provide many of the

administrative and client support functions necessary to serve clients in these

situations. Gustafson Aff., at ¶¶ 2-4. There are several vendors that can provide such

services. Many of those law firms have chosen to use Strategic as their administrative

and client support vendor. In general, Strategic (though a specially formed support

entity) will handle routine client communications and administration. The law firm’s

own employees and attorneys will handle debt negotiations, litigation defense and

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more complex client interactions. Id. at ¶ 3. In short, Strategic (though its affiliates,

typically an entity with “ ------- Client Services, LLC” in its corporate name for

administrative convenience) is an outsourced service provider, which is typically

know in business as a Business Process Outsourcer, or “BPO.” This is a common

service provided to companies in areas like IT, Human Resources, manufacturing,

call centers, and document management.

      In each instance, the law firms signed written agreements with the

appropriate Strategic support entity wherein the law firm agreed to pay that entity

and, in return, that entity agreed to provide administrative and support services,

such as correspondence and file management, document collection, customer service,

and other administrative and logistical tasks associated with representation of

clients. See Gustafson Aff., at ¶ 4; Clark Aff., at ¶ 8. All the Strategic companies are

subsidiaries of StratFS, LLC (“StratFS”), whose ultimate parent entity is Strategic

Family, Inc. (“Family”). The Strategic Entities employ nearly 1,000 people in various

capacities. See Clark Aff., at ¶ 4.

                          The Client Enrollment Process

      The law firms receive potential client leads through various sources. When

such a lead is provided to a firm, the firm’s support entity (in this case, a Strategic

affiliate) downloads the prospective client’s basic personal and financial information

into the firm’s electronic system. Once the prospective client’s information is entered

into the system, the firm will send a mobile notary to that person to conduct a face-

to-face presentation. Importantly, the firms – not Strategic – are the entities to



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contract with the notary companies and arrange the face-to-face presentations. See

Gustafson Aff., at ¶ 5.

      The firms provide all of the materials to be presented to the client, the scripts

and presentations that the notaries use during those meetings, and training

materials and examinations that the notaries must pass before they may meet with

clients. In a typical situation, a notary meets with the prospective client in person,

reviews the firm-prepared presentation with the client, answers any non-legal

questions that the client has (and refers any legal or program-specific questions back

to the firm), and obtains the prospective client’s signatures on the retainer

agreement. The typical face-to-face presentation meeting is about 45 minutes long.

See Gustafson Aff, at ¶ 6.

      After the face-to-face presentation, an attorney from the firm then reviews the

prospective client’s information and places a telephone call to the client for further

discussion. The attorney is responsible for explaining the debt resolution process to

the prospective client, reviewing the terms of the firm’s retainer agreement (including

the fees that the firm charges), and answering any questions that the client has about

the process or alternative methods of resolving his/her debt. If, after that telephone

conference, the attorney believes that the firm’s services are beneficial to the client,

the attorney countersigns the retainer agreement and the client makes his/her first

payment pursuant to the terms of the retainer agreement to the firm. See id, at ¶ 7.

      Thereafter, the law firms work with their respective clients and creditors in an

effort to restructure or compromise those debts, and they defend clients in collection



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actions in court. Attorneys at the law firms conduct frequent reviews of the files,

analyze settlements, and handle litigation defense. The clients pay the contracted-

for fees to the law firms, and the law firms in turn pay their attorneys, employees,

and respective vendors (which include, inter alia, the firm’s support entity, and

notary vendors). Importantly, Strategic does not collect fees from consumers –

advance or otherwise. The support entities perform non-legal support services, such

as addressing non-legal customer service issues, answering clients’ non-legal

questions, handling client’s requests to modify or change their payments to their

dedicated account, basic interfacing with clients’ creditors, 1 answering clients’ non-

legal questions, gathering documents from clients, maintaining client files, and

handling similar administrative tasks. See id., at ¶ 8.

      The various law firms were established using an ethically-compliant structure

wherein the attorneys (who often work remotely and may be spread across several

states) provide legal services to the clients in their particular states while the

administrative and client support functions are centrally housed with Strategic. See

id., at ¶ 2. One of the key tasks that the support entities handle is the receipt of

communications and documents from the law firms’ clients.

      At present, the law firms at issue have at least 65,000 clients. Those clients

have been instructed to direct routine email, mail, and telephone communications to

Strategic. Strategic currently handles over 200,000 client requests each month,




1 The support entities’ employees do not negotiate debts. All non-lawyer negotiators

are employees of the respective law firm.
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including: (1) 40,000-45,000 phone calls; (2) 30,000-35,000 emails; (3) 25,000-30,000

documents received (summonses, statements, collection notices); and (4) 5,000-6,000

draft adjustment requests. See Clark Aff., at ¶ 13. Law firm clients contact the

various Strategic entities on a host of matters, including payment issues (inability to

fund their account, need to reschedule a funding), collection activities from creditors

(including creditors communicating with them directly), the filing of litigation, etc.

Id., at ¶¶ 8-9. In addition, creditors daily communicate with the law firm via mail

(which is sorted and scanned through Strategic) or email.

      Some of the most important communications from law firm clients are those

that contain summonses and complaints for cases in which the client’s creditor has

filed suit. Here, again, the clients are instructed to send any summonses to the staff

at Strategic, who then log the filing and then upload the information to allow the

firms’ attorneys to respond to the lawsuits. Id. at ¶ 19. On average, the law firms

(which defend clients in litigation) receive 1,000 new litigation cases each month (840

were received in December 2023 alone). See Gustafson Aff., at ¶ 9; Clark Aff., at ¶ 19.

Needless to say, delays associated with the processing of those summonses will cause

harm to the clients. One obvious harm is the potential for default judgments,

garnishments, and other adverse consequences. Beyond that, experience has shown

that creditor lawsuits are more easily settled at the early stages. Thus, securing the

best settlement value for the client is dependent on timely notice and processing of

the summons and complaint.




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      The law firms cannot do these functions on their own (particularly on the turn

of dime), as none of the firms employs in-house staff in numbers sufficient to handle

the volume of routine, non-legal client inquiries. While the law firms have attorneys

and some employees to handle the legal services, they simply do not have the

necessary staff to handle the volume of clients represented above.

                        Current Status Of The Law Firms

      Many of the law firms mentioned in the complaint are not currently taking on

new clients. The vast majority are simply continuing to provide service to existing

clients. That continued service includes efforts to negotiate remaining debts, defense

of pending litigation, and the administration of payment plans reached pursuant to

settlement with the clients’ creditors. See Gustafson Aff., at ¶ 10.

      That is not to say that the support entities involvement and work is over. Just

the opposite. The law firms have thousands of clients in active settlement repayment

plans, all of which require monitoring, customer support, and administrative work.

At present, the law firms collectively have about 129,000 active payment plans for

about 65,000 different clients (meaning, such clients have at least one more payment

to be made before a particular debt is considered settled in full). See Clark Aff., at ¶

15. Another roughly 4,900 settlements have been reached with clients’ creditors, but

the payment instructions have not yet been finalized. Under those settlements, $29

million in debt is to be compromised for $16 million (paid over time in installments).

Id. at ¶ 17. In short, if the administrative work to set up the payments via the

payment processor (where the clients’ funds are held) is not completed, thousands of



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clients risk being in immediate default of those recently-achieved settlements – with

a risk of loss of $13 million to consumers. Notably, nearly 500 of those settlements

are for litigated debts. Id. at ¶ 18. In addition, there are another 24,000 client debts

where it appears that clients may have sufficient funds in their dedicated accounts to

fund a term settlement. Id. at ¶ 16. Even if negotiated by the firms, those settlements

cannot be finalized without client approval and instruction to the payment processors

(functions handled by Strategic).

                            The Receiver Is Appointed


       On Friday, January 13, Strategic and the law firms were surprised by the

appointment of the Receiver. The Receiver did not take long to conduct due diligence.

Rather, he made the immediate decision to shut down all operations of the company

and freeze all employees out of the company’s databases and IT. The Receiver has

advised Strategic personnel that he will not re-open the company or provide services

to law firms without a court order.


                                      ARGUMENT


I.     Legal Standard

       “In the Second Circuit, the appointment of a receiver is considered to be an

extraordinary remedy” that “is justified only where there is a clear necessity to

protect a party's interest in property, legal and less drastic equitable remedies are

inadequate, and the benefits of receivership outweigh the burdens on the affected

parties.” JDP Mortg. LLC v. Gosman, No. 19-CV-5968 (JS)(SIL), 2020 WL 8082390,

at *2 (E.D.N.Y. Dec. 21, 2020). Courts recognize that this is a “drastic and intrusive

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remedy to be used sparingly and with extreme caution,” and that “the burden is on

the moving party to show by clear and convincing evidence that such relief is

necessary.” Meisels v. Meisels, No. 19CV4767RRMRML, 2020 WL 7000903, at *5

(E.D.N.Y. May 12, 2020). The “primary purpose of appointing a receiver is to conserve

the existing estate.” Esbitt v. Dutch-Am. Mercantile Corp., 335 F.2d 141, 143 (2d Cir.

1964). The appointment of a receiver “must not unduly harm the defendants by

putting them out of business” (F.T.C. v. Ross, 897 F. Supp. 2d 369, 387 (D. Md. 2012)),

and should not be used to “liquidate” the estate. Eberhard v. Marcu, 530 F.3d 122,

132 (2d Cir. 2008).

      In the same vein, a party seeking preliminary injunctive relief must

demonstrate:

      (1) irreparable harm absent injunctive relief; (2) either a likelihood of
      success on the merits, or a serious question going to the merits to make
      them a fair ground for trial, with a balance of hardships tipping
      decidedly in the plaintiff’s favor; and (3) that the public’s interest weighs
      in favor of granting an injunction.

Red Earth LLC v. U.S., 657 F.3d 138, 143 (2d Cir. 2011). A preliminary injunction is

“an extraordinary and drastic remedy, one that should not be granted unless the

movant, by a clear showing, carries the burden of persuasion.” Moore v. Consol.

Edison Co. of New York, Inc., 409 F.3d 506, 510 (2d Cir. 2005) (quoting Mazurek v.

Armstrong, 520 U.S. 968, 972 (1997)); Grand River Enter. Six Nations, Ltd. v. Pryor,

481 F.3d 60, 66 (2d Cir. 2007) (noting that “the preliminary injunction is one of the

most drastic tools in the arsenal of judicial remedies.”).




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II.     Ex Parte Injunctive Relief Was Not Proper And Should Not Have
        Issued.

        “Ex parte relief by way of a temporary restraining order is an emergency

procedure.”    Rodo Inc. v. Guimares, No. 22-CV-9736 (VSB), 2023 WL 2734464

(S.D.N.Y. Mar. 30, 2023). The purpose of a temporary restraining order is limited to

“preserving the status quo and preventing irreparable harm just so long as is

necessary to hold a hearing, and no longer,” so that a court may hear and determine

final relief. Id. Courts have characterized ex parte TROs as “appropriate only where

irreparable injury will be caused absent prompt judicial intervention in

circumstances where the adversary cannot be contacted, or where advance contact

with the adversary would itself be likely to trigger irreparable injury.” Id.; see also

Little Tor Auto Center v. Exxon Co., USA, 822 F.Supp. 141 (S.D.N.Y. 1993) (noting

that “ex parte practice in seeking substantive interim relief is contrary to the Due

Process Clauses of the Fifth and Fourteenth Amendments.”). Here, no such

emergency existed.

III.    The Government Has No Chance Of Success On The Merits.

        Plaintiffs’ central claim is that Strategic is violating the Telemarketing Sales

Rule (“TSR”). In a nutshell, the TSR prohibits companies from providing debt

settlement representation unless the company conducts a face-to-face presentation

with client prior to engagement. If a company conducts a face-to-face presentation, it

may charge advance fees. 16 C.F.R. § 310.6. If it does not conduct a face-to-face

presentation, it may not charge advance fees. Plaintiffs allege that Strategic violates




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the TSR by charging advance fees without conducting a meaningful face-to-face

presentation.

      Every part of Plaintiffs’ claim is wrong. And what’s more, Plaintiffs know they

are wrong. For starters, Plaintiffs know full well that Strategic does not charge any

advance fees to anyone. See Declaration of Richard K. Gustafson II, ⁋9. Rather, the

law firms – not Strategic – charge fees to clients. And the law firms – not Strategic

– are the entities that conduct the face-to-face presentations. Thus, Strategic does not

even engage in the wrongful conduct of which it is accused. That, by itself, merits

dissolving of the TRO.

      Plaintiffs also know that their claims about the quality of the law firms’

presentations are flatly false. The CFPB looked into this issue in 2020. In early 2020,

the CFPB issued CIDs to five of the law firms that contract with Strategic (Monarch,

Whitestone, Bedrock, Rockwell and Harbor). The CFPB demanded interrogatory

responses and documents. Those five firms provided both. In May 2020, those firms

advised the CFPB of the following:

      •   The law firms conduct face-to-face presentations through a network of
          notaries.

      •   The law firms require the notaries to undergo specialized training and take
          (and pass) an online test before they are allowed to handle face-to-face
          presentations. Thus, only trained and knowledgeable notaries handle
          presentations.

      •   When the face-to-face presentation occurs, the notary reads from a script
          that is drafted and vetted by the firm’s compliance counsel and has been
          reviewed for compliance with the TSR. That eight-page single-spaced script
          explains virtually every aspect of the firm’s representation.




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      •    In addition, the notary walks through a 20+ page powerpoint presentation.
           The client initials each page of the powerpoint presentation to confirm that
           he/she reviewed and understands the material on that page. Like the script,
           the powerpoint presentation explains virtually every aspect of the firm’s
           representation in clear language.

      •    The notary also reviews the firm’s retention agreement with the client and
           highlights various aspects of that agreement.

      •    At the conclusion of the face-to-face presentation, the notary signs an
           affidavit attesting to the fact that the notary covered all of the required
           material and noting the length of the presentation. The client signs the
           affidavit as well. On average, the face-to-face presentations run 44 minutes.

      •    After the face-to-face presentation, an attorney from the law firm will call
           the client to confirm that the presentation went well and that the client
           understands the firm’s services. The attorney will then answer any
           questions the client may have.


See Gustafson Aff., ¶16.


      In short, the law firms’ face-to-face presentations are far more structured and

robust than is alleged by Plaintiffs. See Declaration of Emily J. Gay, dated January

16, 2024. And Plaintiffs know this because it was disclosed to them in 2020. The

CFPB followed up on those disclosures by contacting various notaries to make sure

the processes disclosed by the law firms were actually followed. That occurred in 2020

as well.

       All of this information was omitted from the CFPB’s complaint and moving

papers. It simply shocking that the CFPB would obtain those disclosures in 2020, and

then (after sitting on that information for nearly four years and never contacting the

CID respondents or Strategic) come running into this Court in 2024 and declare that




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an emergency exists. It is also shocking that the CFPB would not include the facts

disclosed by the law firms in its complaint.

       One additional point merits mention; the law firms work with two companies

(Global and RAM) that regularly audit the law firms’ compliance with the TSR. Those

regular audits have not turned up any issues.

III.   Balance Of Irreparable Harm Favors Defendants.

       Courts have noted that “[i]ssuance of a court order without prior notice to the

party to be enjoined may cause irreparable injury to that party.” Little Tor Auto, 822

F. Supp. at 143. The Little Tor court also noted the potential for abuse and unintended

consequences of ex parte injunctions:

       The phenomenon of ex parte applications has long been a matter of
       concern…Attention to the problem is important, in part because of the
       increasingly intricate nature of statutes and implementing regulations
       affecting transactions which have become more and more sophisticated.
       Another factor is the increasingly nationwide character of much
       economic activity….In the context of nationwide economic activity,
       ex parte interim relief may have far-reaching consequences
       affecting distant parties or events.

Id. at 143 (emphasis added).

       In this case, it is difficult to see what irreparable harm – if any – caused entry

of the TRO. Strategic has operated in an above-board fashion for many years. It is a

well-established company with strong ties to New York and which employs many

people, many of whom are Strategic’s owners through the ESOP There is no evidence

(nor could there by) that any Defendant posed a flight risk or was about to move

assets.




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        On the contrary, the appointment of the Receiver is creating irreparable harm

to Strategic. Receivership is not meant to be a corporate death sentence, and the

Second Circuit has specifically instructed that Receivers are not properly used to

liquidate a business. Eberhard,530 F.3d at 132. If the CPFB’s chosen receiver

proceeds in this case, he will impermissibly “unduly harm the defendants by putting

them out of business,” the exact opposite of a receiver’s intended purpose.

        As set forth above, there are 129,000 existing term settlements that need to be

administered and thousands of additional settlements that could be affected (thus

saving clients millions of dollars) if the law firms can continue to operate. But closing

down the law firms’ support entities (and cutting of IT and data) without any notice

or opportunity to allow the law firms to transition effectively makes them unable to

provide services. In addition, thousands of law firm clients may face litigation and

the law firms will be hampered in responding without their administrative staffs.

        In addition, Strategic faces the prospect of breaching its agreements and losing

its employees. Thus, even if it can defend itself in this lawsuit (given the hampering

effect of the Receiver) any victory may ultimately prove Pyrrhic.

IV.     Bond

        This Court has ordered the Receiver to post a $50,000 bond. That is woefully

inadequate. Strategic is a billion dollar company and the Receivers’ actions pose an

existential threat to Strategic, its clients, and its employee owners. If the Court does

not dissolve the TRO, Defendants seek a $500 million bond.




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                                   CONCLUSION

       For the foregoing reasons, this Court should grant Defendants’ motion to

dissolve the Temporary Restraining Order together with any further relief the Court

deems just and proper.


       Alternatively, if the Court does not dissolve the Temporary Restraining Order,

Defendants respectfully requests that the Order must be modified so that Strategic

can continue to provide support to the law firm as they serve their client’s needs.

Specifically, Strategic proposed that the TRO must be modified to allow Strategic: (1)

controlled and supervised access to the various consumer accounts that it believes

either the Receiver or the CFPB has taken steps to impede; (2) access to certain IT

infrastructure,   including   various   Microsoft   accounts,   Salesforce,   8X8   and

workchat/workplace to communicate; and (3) sufficient support personnel for

Strategic to provide the required and necessary services to the law firms and the law

firms’ clients.


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                                        Respectfully submitted,

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